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7                                 UNITED STATES DISTRICT COURT
8                                CENTRAL DISTRICT OF CALIFORNIA
9

10   KIRA N. DURBIN,                        )     No. 19-CV-7628-PLA
                                            )
11                  Plaintiff,              )     ORDER AWARDING ATTORNEYS
                                            )     FEES PURSUANT TO EAJA 28 U.S.C.
12   vs.                                    )     §2412(d) AND COSTS PURSUANT
                                            )     TO 28 U.S.C. §1920
13   ANDREW SAUL,                           )
     COMMISSIONER OF SOCIAL                 )
14   SECURITY                               )
                                            )
15             Defendant                    )
     ______________________________
16

17         Pursuant to the Stipulation between the parties, through their respective counsel,
18   awarding attorney’s fees under EAJA,
19         IT IS HEREBY ORDERED that EAJA fees are awarded in the amount of $5,000.00
20   in attorney’s fees as authorized by 28 U.S.C. § 2412, as well as reimbursement for costs of
21   the $400.00 filing fee as authorized by 28 U.S.C. § 1920, subject to the terms of the
22   stipulation.
23

24
     Dated: November 9, 2020
25                                          ______________________________
                                            HON. PAUL L. ABRAMS
26                                          U.S. Magistrate Judge
27

28

                                                 1                 Order Awarding EAJA Fees
